            Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 1 of 8
                                                                                        Filed
                                                                                        o.e. Superior Court
                                                                                        01/01/2019 18:BiPM
                                                                                        Clerk of the Court

             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

SYLVIA M. GONZALEZ
1803 Biltmore Street, NW, Apt. 102
Washington, DC 20009

       Plaintiff

vs.                                                                2019 CA 002764 B
WASHINGTON METROPOLITAN
  AREA TRANSIT AUTHORITY
Serve: Patricia Y. Lee, General Counsel
600 Fifth Street, NW
Washington, DC 20001

       Defendant

                                          COMPLAINT

       SYLVIA GONZALES, Plaintiff, by Ronald L. Schwartz and Maria Mena, her attorneys,

sue the WASHINGTON METROPOLIT AN AREA TRANSIT AUTHORITY, an interstate

compact agency, and allege as follows:

                                JURISDICTION AND VENUE

       l. Jurisdiction exists in the Superior Court of the District of Columbia, pursuant to

Section 81 of the WMATA Compact, D.C. Code Ann. § 9-1107.10.

       2. Venue exists in that the cause of action arose in the District of Columbia.

                                            PARTIES

       3. The Plaintiff is a citizen of the District of Columbia

       4. The Defendant is an interstate agency existing under an Act of Congress, Maryland,

Virginia, and the District of Columbia, with principal place of business in the District of

Columbia.
            Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 2 of 8




                                             COUNTI
                                            (Negligence)

        5. On or about May 2, 2016, Plaintiff Sylvia M. Gonzalez was a paying customer on the

"Metro" Green Line, owned and operated by Defendant WMATA, and was preparing to exit the

train at the Waterfront Metro Station located at 399 M Street, SW, Washington, DC.

        6. On the above date and time, an operator of a Series 7000 Green Line train, an

employee of WMATA, caused or allowed the doors to close on the Plaintiff as she was exiting

the train with a friend, causing her to fall off of the train and onto the station platform. As a

result of the fall, the Plaintiff suffered serious and permanent injuries, requiring medical and

hospital care ..

        7. The operator of the aforesaid train was negligent, and caused the aforementioned

injuries to the Plaintiff by failing to maintain adequate control of the closing of the door so as to

not injure passengers, including the Plaintiff, failed to pay proper care and attention to his duties,

and otherwise breached his duty of due care, without any negligence on the part of the Plaintiff

contributing thereto.

        8. As a direct and proximate cause of the aforesaid negligence of the Defendant

WMATA's employee, the operator of the Green Line train, the Plaintiff incurred pain and

suffering, medical and hospital bills, permanent injury, loss of use and enjoyment of life as she

had prior to the accident, and was otherwise damaged and injured.

        WHEREFORE, the Plaintiff claims damages against the Defendant WMA TA in the

amount of One Million ($1,000,000.00) Dollars, plus interest and costs.
Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 3 of 8




                                      Respectfully submitted,

                                      /s/ Ronald L. Schwartz
                                      Ronald L. Schwartz Bar# 372 788
                                      4907 Niagara Road, Suite 103
                                      College Park, MD 20740
                                      (301) 474-2300
                                      (301) 474-6607 (Fax)
                                      ron al dschwartz({liverízon. net

                                      Attorney for Plaintiff
            Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 4 of 8
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                                                                                        o.e. Superior Court
                                                                                        05/01/2019 12:45PM
                                                                                        Clerk of the Court

             IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

SYLVIA M. GONZALEZ
1803 Biltmore Street, NW, Apt. 102
Washington, DC 20009

       Plaintiff

vs.                                                          Civil No. 2019 CA 002764 B

WASHINGTON METROPOLITAN
  AREA TRANSIT AUTHORITY
Serve: Patricia Y. Lee, General Counsel
600 Fifth Street, NW
Washington, DC 20001

       Defendant

                                   AMENDED COMPLAINT

       SYLVIA GONZALES, Plaintiff, by Ronald L. Schwartz and Maria Mena, her attorneys,

sue the WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY, an interstate

compact agency, and allege as follows:

                                JURISDICTION AND VENUE

       1. Jurisdiction exists in the Superior Court of the District of Columbia, pursuant to

Section 81 of the WMATA Compact, D.C. Code Ann.§ 9-1107.10.

       2. Venue exists in that the cause of action arose in the District of Columbia.

                                            PARTIES

       3. The Plaintiff is a citizen of the District of Columbia

       4. The Defendant is an interstate agency existing under an Act of Congress, Maryland,

Virginia, and the District of Columbia, with principal place of business in the District of

Columbia.
            Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 5 of 8




                                             COUNTI
                                            (Negligence)

        5. On or about May 2, 2016, Plaintiff Sylvia M. Gonzalez was a paying customer on the

"Metro" Green Line, owned and operated by Defendant WMA TA, and was preparing to exit the

train at the Waterfront Metro Station located at 399 M Street, SW, Washington, DC.

        6. On the above date and time, an operator of a Series 7000 Green Line train, an

employee of WMA TA, caused or allowed the doors to close on the Plaintiff as she was exiting

the train with a friend, causing her to fall off of the train and onto the station platform. As a

result of the fall, the Plaintiff suffered serious and permanent injuries, requiring medical and

hospital care ..

        7. The operator of the aforesaid train was negligent, and caused the aforementioned

injuries to the Plaintiff by failing to maintain adequate control of the closing of the door so as to

not injure passengers, including the Plaintiff, failed to pay proper care and attention to his duties,

and otherwise breached his duty of due care, without any negligence on the part of the Plaintiff

contributing thereto.

        8. As a direct and proximate cause of the aforesaid negligence of the Defendant

WMA TA's employee, the operator of the Green Line train, the Plaintiff incurred pain and

suffering, medical and hospital bills, permanent injury, loss of use and enjoyment of life as she

had prior to the accident, and was otherwise damaged and injured.

        WHEREFORE, the Plaintiff claims damages against the Defendant WMA TA in the

amount of One Million ($1,000,000.00) Dollars, plus interest and costs.
   Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 6 of 8




                                                      Respectfully submitted,

                                                     Isl Ronald L. Schwartz
                                                     Ronald L. Schwartz Bar# 372788
                                                     4907 Niagara Road, Suite 103
                                                     College Park, MD 20740
                                                     (301) 474-2300
                                                     (301) 474-6607 (Fax)
                                                     ronaldschwartz@verizon.net

                                                     Attorney for Plaintiff


                                 JURY DEMAND

Plaintiff prays and demands that the above entitled matter be tried by a jury.


                                                     Isl Baoald T Schwartz
                                                     Ronald L. Schwartz Bar No. 372788
                 Case 1:19-cv-01937 Document 1-4 Filed 06/27/19 Page 7 of 8

                          SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                               CIVIL DIVISION
                                             Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                               Telephone: (202) 879-1133 • Website: www.dccourts.gov

SYLVIA M. GONZALEZ
  Vs.                                        C.A. No.                                  2019 CA 002764 B
WASHINGTON METROPOLIT AN AREA TRANSIT AUTHORITY
                                  INITIAL ORDER AND ADDENDUM

    Pursuant to D.C. Code§ 11-906 and District of Columbia Superior Court Rule of Civil Procedure
("Super. Ct. Civ. R.") 40-I, it is hereby ORDERED as follows:

      ( 1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge's name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

     (3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

     (4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

      (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://www.dccourts.gov/.

                                                               Chief Judge Robert E. Morin
Case Assigned to: Judge WILLIAM M JACKSON
Date: April 29, 2019
Initial Conference: 9:30 am, Friday, July 26, 2019
Location: Courtroom 219
            500 Indiana Avenue N.W.
            WASHINGTON, DC 20001
                                                                                                     CAIO-60
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                       ADDENDUM TO INITIAL ORDER AFFECTING
                         ALL MEDICAL MALPRACTICE CASES

        In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code§ 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code§ 16-2821.

        To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code§ 16-2825 Two separate Early Mediation Forms are available. Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiff's counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

       A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 1 O years of significant experience in medical malpractice litigation.
D.C. Code§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code§ 16-2823(b).

        The following persons are required by statute to attend personally the Early Mediation
Conference: ( 1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code§ 16-2824.

        No later than ten (1 O) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

                                                              Chief    Judge     Robert    E.    Morin


                                                                                                CAI0-60
